                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


COALITION TO MARCH ON THE RNC,

                           Plaintiff,                                             Case No. 24-cv-0704-bhl
         v.

CITY OF MILWAUKEE, CAVALIER JOHNSON,
JERREL KRUSCHKE, and KIMBERLY A. CHEATLE,

                  Defendants.
______________________________________________________________________________

                         PRELIMINARY INJUNCTION
______________________________________________________________________________

         Plaintiff Coalition to March on the RNC has established a likelihood of success on the
merits of its claim that subsection 9a-2 of the Special Event Ordinance is facially unconstitutional
as an overbroad prior restraint on First Amendment activities. Because the Court also concludes
that the Coalition is likely to suffer irreparable harm absent preliminary relief, and that the balance
of equities and public interest weigh in favor of a preliminary injunction, it grants the Coalition’s
request for a preliminary injunction enjoining Defendants City of Milwaukee and Commissioner
of Public Works Jerrel Kruschke from denying or revoking parade or speaker’s platform
registrations pursuant to subsection 9a-2 of the Special Event Ordinance.
         Accordingly,
         IT IS HEREBY ORDERED that Defendants City of Milwaukee and Commissioner of
Public Works Jerrel Krushcke are enjoined from denying or revoking permit registrations pursuant
to subsection 9a-2 of the Special Event Ordinance based on an applicant or his or her associate’s
prior criminal conviction. 1

         Dated at Milwaukee, Wisconsin on July 8, 2024.

                                                                 s/ Brett H. Ludwig
                                                                 BRETT H. LUDWIG
                                                                 United States District Judge

1
 This relief is entered on a preliminary basis only. As agreed at oral argument, if any party wishes to have further
proceedings, they must notify the Court with a filing on the docket within 48 hours of the entry of this Decision and
Order. Absent such notice, the Court will treat this matter as having been advanced to a full trial on the merits under
Fed. R. Civ. P. 65(a)(2) and a final judgment will be entered.


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